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                                                    USDC SDNY
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                                                    ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                        DOC #:
SOUTHERN DISTRICT OF NEW YORK                       DATE FILED: 11/9/2020

YUTONG JIN,

                                Plaintiff,
                                                                20-CV-9129 (MKV)
                    -against-
                                                              ORDER OF SERVICE
SOLOMON CHOI,

                                Defendant.

MARY KAY VYSKOCIL, United States District Judge:

       Plaintiff, who is proceeding pro se, paid the filing fees to commence this action.

       The Clerk of Court is directed to issue a summons as to Defendant Solomon Choi.

Plaintiff is directed to serve the summons and complaint on Defendant within 90 days of the

issuance of the summons. If within those 90 days, Plaintiff has not either served Defendant or

requested an extension of time to do so, the Court may dismiss the claims against Defendant

under Rules 4 and 41 of the Federal Rules of Civil Procedure for failure to prosecute.

       The Clerk of Court is directed to mail a copy of this order to Plaintiff, together with an

information package.

SO ORDERED.

 Dated:   November 9, 2020
          New York, New York

                                                          MARY KAY VYSKOCIL
                                                          United States District Judge
